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                       Exhibit 2
             Paul Wright deposition (excerpt)

          Prison Legal News v. Fed. Bureau of Prisons,
                   No. 15-cv-02184-RM-STV
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                                                                        Page 1
                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

                    Civil Action No. 15-CV-02184-RM-STV

             Prison Legal News, a project
             of the Human Rights Defense Center,
                                       Plaintiff,
             vs.
             Federal Bureau of Prisons,
                                  Defendant.
             ----------------------------------/



                               United States Attorney's Office
                               West Palm Beach, Florida
                               Tuesday, March 6, 2018
                               8:48 a.m. - 3:27 p.m.




                             Deposition of Paul Wright


                    Taken before Sonnia Martinez, Notary
             Public in and for the State of Florida at
             Large, pursuant to Notice of Taking Deposition
             filed in the above cause.
                               - - - - - - -




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                                                                     Page 114
        1         Q.    I understand.     So when you moved down
        2    to Lake Worth from Vermont did you bring all
        3    the hard copy files with you?
        4         A.    Yes.
        5         Q.    Okay.    All right.    I just want to
        6    make sure that there's no other places that
        7    documents could have been kept, anything like
        8    that.
        9         A.    No.
       10         Q.    Okay.    All right.
       11               I'd like to ask you a few quick
       12    questions about each one of the rejection
       13    packets that I've been able to identify in the
       14    documents --
       15         A.    Sure.
       16         Q.    -- that have been produced, okay?
       17               Bear with me just a second.
       18               So it's my opinion, Mr. Wright, and I
       19    want to see if you have the same
       20    understanding, so we've got the eleven
       21    rejections at issue in this case.
       22         A.    Yes.
       23         Q.    And just to confirm, BOP is not aware
       24    of any other rejections of PLN during that
       25    time frame.      Are you, sir?


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                                                                     Page 115
        1         A.    No, I'm not.
        2               MR. SWANSON:     Objection, form.
        3    BY MS. PROSE:
        4         Q.    Okay.    And I also note that the
        5    records seem to show that of those eleven
        6    rejections, PLN appealed four of them,
        7    June 2012, July 2013, September 2013 and
        8    April 2014, does that square with your memory,
        9    too?
       10         A.    I believe so.
       11         Q.    Okay.    And I just want to ask you,
       12    are you aware of any other appeals of any of
       13    those eleven issues that we may have missed on
       14    the BOP side?
       15         A.    I don't think so, that seems
       16    accurate.
       17         Q.    Okay.    All right.    Thank you for
       18    clarifying that.
       19               Now, you note in your complaint, and
       20    if you want we can take a look at it, but one
       21    of the allegations that PLN makes, Mr. Wright,
       22    is that you folks did not receive notice of
       23    some of the rejections until something between
       24    like six and nine months after the warden
       25    actually rejected the publication; is that


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